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                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                         FAYETTEVILLE DIVISION


CRIMINAL NO. 12-50008-001                USA v. CELEN ZENDEJAS

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

Clerk: GAIL GARNER                       Deft. DAN STEWART

Reporter: THERESA SAWYER                 Interpreter: DEBBIE ANDRADE


                       SENTENCING MINUTE SHEET

     On this date the above-named defendant appeared in person and
with counsel for sentencing and is sworn.

     (X)   Inquiry made that defendant is not under influence of
           alcohol or drugs and is able to comprehend proceedings.
     (X)    Inquiry made whether defendant is under the care of a
           physician or taking any medication and is able to
           comprehend proceedings.
     (X)   Inquiry made that defendant is satisfied with counsel.
     (X)   Court determined that defendant and counsel have had
           opportunity to read and discuss presentence investigation
           report.
     (X)   Presentence investigation report reviewed in open court.
     (X)   Defendant withdraws objections 1, 4, and 5 in open
           court; objection 2 is satisfied; objection 3 will not
           be considered by the court; and objection 6 is point
           of argument only. Objection 1 by government is
           satisfied.
     (X)   Court expresses final approval of plea agreement.
     (X)   Government moves for downward departure pursuant to
           5K1.1 - granted and 5-level departure awarded.
     (X)   Attorney for government afforded opportunity to make
           statement to court.
     (X)   Counsel for defendant afforded opportunity to speak on
           behalf of defendant.
     (X)   Defendant afforded opportunity to make statement and
           present information in mitigation of sentence.
     (X)   Court proceeded to impose sentence as follows:

           216 months imprisonment on Count 10 and 216 months
           imprisonment on Count 19, to run concurrently;
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Criminal No. 12-50008-001


           3 years supervised release on Count 10 and
           3 years supervised release on Count 19, to run
           concurrently; $50,000.00 fine - interest waived.

     (X)   Defendant ordered to comply with standard conditions
           of supervised release.
     (X)   Defendant ordered to pay total special assessment of
           $200.00 for Counts 10 and 19, which shall be due
           immediately.
     (X)   Defendant advised of right to appeal sentence imposed.
     (X)   Defendant advised of right to apply for leave to appeal
           in forma pauperis.
     (X)   Counts 1, 6, 7, 8, 9 and forfeiture allegation dismissed
           on motion by the government.
     (X)   Defendant remanded to custody of USMS.



DATE: November 26, 2012                  Proceeding began:       9:50 am

                                                       ended: 11:15 am
